Case 6:10-cv-00260-LED Document 415 Filed 03/06/12 Page 1 of 2 PageID #: 4061



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

Microlog Corp.,                                   §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §
                                                  §          Civil Action No. 6:10-CV-260
Continental Airlines, Inc., et al.,               §
                                                  §
                Defendants.                       §          JURY TRIAL DEMANDED
                                                  §
                                                  §




                         ORDER OF DISMISSAL WITH PREJUDICE


        CAME ON THIS DAY for consideration of the Agreed Motion to Dismiss With

Prejudice where Third-Party Plaintiff La Quinta Corporation (“La Quinta”) and Third-Party

Defendant eGain Communications Corp. (“eGain”) announced to the Court that La Quinta has

settled its claims for relief asserted in this case, the Court is of the opinion that their request for

dismissal should be GRANTED.

        IT IS THEREFORE ORDERED that the above-entitled cause and all claims against

eGain by La Quinta are dismissed with prejudice, subject to the terms of that certain agreement

entitled “SETTLEMENT AGREEMENT” and dated February 15, 2012.

        IT IS FURTHER ORDERED that all attorneys’ fees, costs of court and expenses shall be

borne by each party incurring the same.
Case 6:10-cv-00260-LED Document 415 Filed 03/06/12 Page 2 of 2 PageID #: 4062



      So ORDERED and SIGNED this 6th day of March, 2012.




                        __________________________________
                        LEONARD DAVIS
                        UNITED STATES DISTRICT JUDGE
